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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                               MACON DIVISION


UNITED STATES OF AMERICA,

v.                                                   CRIMINAL ACTION NO.
                                                     5:22-cr-00039-TES-CHW-1
CHARLIE HARVEY,

        Defendant.


         ORDER GRANTING UNOPPOSED MOTION FOR CONTINUANCE
                     IN THE INTEREST OF JUSTICE



        Before the Court is an Unopposed Motion for Continuance [Doc. 24] filed by the

 Government. On July 12, 2022, the Government obtained an indictment charging

 Defendant Harvey with (1) Conspiracy to Possess with Intent to Distribute Controlled

 Substances in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A)(viii); each in violation

 of 21 U.S.C. § 846, and (2) Possession with Intent to Distribute Methamphetamine in

 violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A)(viii) and 18 U.S.C. § 2. [Doc. 1, pp. 1–

 2]. He pled “Not Guilty” on August 30, 2022. [Doc. 19].

        The Government seeks this second continuance so that Defendant Harvey has

 “the opportunity to review discovery, to prepare an effective defense, and to fully

 prepare for trial with his appointed counsel.” [Doc. 24, p. 2]. So as to avoid a

 miscarriage of justice, the Court GRANTS the Government’s Unopposed Motion for

 Continue [Doc. 24]. This case and its pretrial conference are CONTINUED to the
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Court’s next regularly scheduled Trial Term—February 13, 2023. See 18 U.S.C. §

3161(h)(7)(B)(i).

       “Failure to grant a continuance would deny defense counsel the reasonable time

necessary for effective preparation, taking into account the exercise of due diligence.”

[Doc. 21, p. 3 (citing 18 U.S.C. § 3161(h)(7)(B)(iv))]. The ends of justice served by this

continuance outweigh the best interests of the public and Defendant Harvey in a speedy

trial and are in accordance with the considerations required under 18 U.S.C. §

3161(h)(7)(A) for excusable delay.

       SO ORDERED, this 8th day of November, 2022.

                                           S/ Tilman E. Self, III
                                           TILMAN E. SELF, III, JUDGE
                                           UNITED STATES DISTRICT COURT




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